Case: 1:17-md-02804-DAP Doc #: 5276-13 Filed: 12/15/23 1 of 3. PageID #: 625710




                         Exhibit I
                       to Declaration of Matthew Hooker
Case: 1:17-md-02804-DAP Doc #: 5276-13 Filed: 12/15/23 2 of 3. PageID #: 625711




                                                                                                             Hogan Lovells US LLP
                                                                                                             Columbia Square
                                                                                                             555 Thirteenth Street, NW
                                                                                                             Washington, DC 20004-1109
                                                                                                             T +1 202-637-5600
                                                                                                             F +1 202-637-5910
                                                                                                             www.hoganlovells.com


July 13, 2021

BY ELECTRONIC MAIL AND SECURE FILE TRANSFER

Wendy J. Weinberg
Assistant Attorney General
Office of Consumer Protection
Public Advocacy Division
Office of the Attorney General
400 Sixth Street, NW, 10th Floor
Washington, DC 20001

Linda Singer
Paige Boggs
Motley Rice LLC
401 9th St. NW, Suite 1001
Washington, DC 20004


Re:              Subpoena to OptumRx, Inc. Dated December 28, 2020

Dear Wendy, Linda and Paige:

With this letter and accompanying document, which will be provided via a secure link, OptumRx, Inc.
(hereinafter “Optum,” or “the Company”) makes its first production in response to the Subpoena
dated December 28, 2020, as clarified by our various telephone calls (the “Subpoena”). For ease of
reference,     this    production  has    been     Bates-numbered       OPTUM1220_0000001        –
OPTUM1220_0000002.

This production includes information responsive to Request 1. Per our telephone and email
communications on February 5 and February 26, 2021, the enclosed document provides, by year,
for 2016-2020, the total rebates associated with prescriptions filled at pharmacies in the District of
Columbia for the ten manufacturers from whom Optum has received the largest such rebates.

                                                                          *            *             *

The enclosed document contains or constitutes confidential business information, records, and/or
trade secrets of Optum and we have branded it “CONFIDENTIAL” and are producing it pursuant to
our July 1, 2021 Confidentiality Agreement with the Office of the Attorney General for the District of
Columbia.


Hogan Lovells US LLP is a limited liability partnership registered in the District of Columbia. “Hogan Lovells” is an international legal practice that includes Hogan Lovells US
LLP and Hogan Lovells International LLP, with offices in: Alicante Amsterdam Baltimore Beijing Brussels Caracas Colorado Springs Denver Dubai Dusseldorf
Frankfurt Hamburg Hanoi Ho Chi Minh City Hong Kong Houston Johannesburg London Los Angeles Luxembourg Madrid Mexico City Miami Milan Minneapolis
Monterrey Moscow Munich New York Northern Virginia Paris Perth Philadelphia Rio de Janeiro Rome San Francisco São Paulo Shanghai Silicon Valley
Singapore Sydney Tokyo Ulaanbaatar Warsaw Washington DC Associated offices: Budapest Jakarta Shanghai FTZ Zagreb. Business Service Centers:
Johannesburg Louisville. Legal Service Center: Birmingham. For more information see www.hoganlovells.com
Case: 1:17-md-02804-DAP Doc #: 5276-13 Filed: 12/15/23 3 of 3. PageID #: 625712
                                                                                          July 13, 2021


The submission of the enclosed materials does not waive, nor is it intended to waive, any rights,
privileges, or immunities of Optum with respect to this matter, including any applicable attorney-client
privilege, protection provided under the work-product doctrine, or other privilege or immunity that
may exist. In the event of any inadvertent production of privileged materials, Optum requests that
the government refrain from reviewing such materials and return the same promptly to Optum.
Moreover, to the extent that non-responsive documents, pages, or information have been produced
inadvertently, Optum does not agree to any expansion of the scope of your request. Optum
expressly reserves any applicable privileges and immunities to which it is entitled under the law.

Please call me if you have any questions about any aspect of this letter or the enclosed document.


Sincerely,

/s/

Michelle A. Kisloff
Partner
Michelle.kisloff@hoganlovells.com
D 202-637-6631

cc:    Allison J. Caplis




                                                   2
